                   IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION



 SECURITIES AND EXCHANGE
 COMMISSION,

        Plaintiff,                                        Civil Action No. 3:12 cv 519

 vs.

 REX VENTURE GROUP, LLC
 d/b/a ZEEKREWARDS.COM, and
 PAUL BURKS,

        Defendants.


                      ORDER ADMINISTRATIVELY CLOSING CASE

       This matter is before the Court upon the Receiver’s Motion for Order Administratively

Closing Case (the “Motion”). The Motion seeks an order of this Court authorizing the Receiver

to administratively close the case.

       After reviewing and considering the Motion, and upon all of the proceedings had before

this Court, and for good cause shown, the Motion is hereby GRANTED.

       IT IS HEREBY FOUND, DETERMINED, ORDERED, ADJUDGED, AND DECREED,

AS FOLLOWS:

       1.      The notice of the Motion sent via electronic mail to all entities that have provided

e-mail addresses and fully submitted Claims on the Claim Portal constitutes good and sufficient

notice of the Motion and all the relief sought therein.

       2.      The Motion is GRANTED.

       3.      The receivership and this case are hereby administratively closed, effective as of


                                                 1
        Case 3:12-cv-00519-GCM Document 818 Filed 10/12/21 Page 1 of 2
October 7, 2021, while the Receiver completes the administration of the RVG Estate (as such term

is defined in the Motion) in accordance with the mandates of the receivership and makes the final

distribution.

        4.      The Receiver and its agents are authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order in accordance with the Motion.




                                            Signed: October 12, 2021




                                                  2
         Case 3:12-cv-00519-GCM Document 818 Filed 10/12/21 Page 2 of 2
